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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF OKLAHOMA

                                                        Case No. 6:20-MD-02977-RJS-CMR
 IN RE: BROILER CHICKEN GROWER
 ANTITRUST LITIGATION (NO. II)
                                                        Chief Judge Robert J. Shelby

                                                        Magistrate Judge Cecilia M. Romero
 This document relates to all actions.


           DECLARATION OF DAVID A. LANGER IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AN ORDER COMPELLING DEFENDANT PILGRIM’S
  PRIDE TO PRODUCE CERTAIN DOCUMENTS FOR FAILURE TO SHOW THAT
                  THE DOCUMENTS ARE PRIVILEGED


       I, David A. Langer, hereby declare that the following is true and correct:
       1.      I am an attorney with the law firm of Berger Montague PC. I am fully familiar
with the facts contained herein based upon my personal knowledge, and I submit this Declaration
in support of Plaintiffs’ Motion for an Order Compelling Defendant Pilgrim’s Pride to Produce
Certain Documents for Failure to Show That the Documents are Privileged.
       2.      Attached as Exhibit 1 are true and correct copies of four Pilgrim’s Pride
Corporation privilege logs: (i) a revised August 31, 2020 log with 118 entries; (ii) a December
14, 2020 log with 28 entries; (iii) a December 21, 2020 log with 16 entries; and (iv) a December
22, 2020 log with 24,687 entries.
       3.      Attached as Exhibit 2 is a true and correct copy of a letter from Lauren Alexander
to David Langer, dated June 3, 2021.
       4.      Attached as Exhibit 3 is a true and correct copy of a letter from David Langer to
Robert Dahnke, dated March 10, 2021.
       5.      Attached as Exhibit 4 is a true and correct copy of a letter from Robert Dahnke to
David Langer, dated March 22, 2021.
       6.      Attached as Exhibit 5 is a true and correct copy of a letter from David Langer to
Kristin Kroger, Robert Dahnke and Bradley Justus, dated April 13, 2021.
       7.      Attached as Exhibit 6 is a true and correct copy of a letter from Robert Dahnke to
David Langer, dated May 17, 2021.
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       I declare under penalty of perjury that the foregoing is true and correct. Executed on July
2, 2021.



                                              /s/ David A. Langer
                                             David A. Langer




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